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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA


                        Plaintiff,
                                                    Criminal No.   18-cr-30127-SMY
                 vs.




STEVEN P. GIBSON,


                        Defendant.


                                     STIPULATION OF FACTS


       The attorney for the United States and the attorney for the Defendant have engaged in

discussions and have stipulated to the following facts to support the plea of guilty in accordance

with U.S.S.G. §6B1.4.

            1.    STEVEN P. GIBSON is a pharmacist, licensed in the State of Illinois, who

operates Gibson's Discoimt Drugs, a pharmacy, located at 1506 South Main Street, Red Bud,

Illinois.


        2.       In October 2016, GIBSON purchased Deterding Drugs Inc., a pharmacy located at

1506 South Main Street, Red Bud, Illinois, and changed the name to Gibson's Discount Drugs.

       3.        On December 29, 2016, Gibson's Discount Drugs was licensed with the State of

Illinois as a pharmacy. Prior to December 29, 2016, Deterding Drugs Inc. was a licensed

pharmacy at the same address as Gibson's Discount Drugs. Gibson's Discount Drugs and

Deterding Drugs Inc., both had the same National Provider Identifier (NPI), a unique number

issued to health care providers by the Centers for Medicare and Medicaid Services (CMS). The

NPI was the required identifier that providers used to submit claims to Medicare, Medicaid, and

most commercial healthcare insurance companies.

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       4.      GIBSON was engaged in a scheme to defraud health care benefit programs by

submitting false claims for fraudulent prescription medications to Medicare, Medicaid, and

private insurance companies that were not authorized by a physician, nurse practitioner, or a

physician's assistant as required. In doing so, GIBSON acted outside the usual course of

professional conduct and without a legal medical purpose.

       5.      GIBSON submitted false and fraudulent claims in the names of family

members and pharmacy customers for prescription medication.             Gibson often selected

expensive prescription medications that he knew would be paid for by insurance companies

(including Medicare and Medicaid). One such medication was Creon, a drug used to treat

chronic pancreatitis. Another such medication was Pentasa, a drug used to treat ulcerative

colitis. A third medication was Hydroxychloroquine, a drug used to treat or prevent malaria.

These prescription medications and others were not authorized by any physician, nurse

practitioner, or physician's assistant and were not dispensed to any of the family members or

pharmacy customers. These "make believe" prescriptions were created by GIBSON for the

sole purpose of generating payments.

       6.      From on or about December 25,2016, through on or about February 3,2018, in

Randolph County, within the Southern District of Illinois, GIBSON, defendant, admits he

knowingly and willfully executed a scheme to defraud Medicare, a healthcare benefit program,

in connection with the delivery of and payment for healthcare benefits and services by

submitting false claims and obtaining $23,341.59 in reimbursement using materially false and

fraudulent representations in violation of Title 18, United States Code, Section 1347.

       7.      From on or about December 25,2016, through on or about February 3,2018, in

Randolph County, within the Southern District of Illinois, GIBSON, defendant, admits he
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 knowingly and willfully executed a scheme to defiaudMedicaid, a healthcare benefit program,

 in connection with the delivery of and payment for healthcare benefits and services by

 submittingfalse claims and obtaining$136,835.91 in reimbursement using materiallyfalse and

 fraudulent representations in violation of Title 18, United States Code, Section 1347.

         8.     From on or about December 25,2016, through on or about February 3,2018, in

 Randolph County, within the Southern District of Illinois, GIBSON, defendant, admits he

 knowingly and willfully executed a scheme to defraud private insurance companies for

 healthcare benefits and services for family members "AM", "RG", "RK", and "SK" by

 submitting false claims and obtaining $472,689.03 in reimbursement. GIBSON, defendant,

 agrees to make voluntary restitution payments to the private insurance companies, as well as

 to Medicare and Medicaid.



                                                     SO STIPULATED:

                                                     STEVEN D. WEINHOEFT
                                                     United States Attorney




STEVEN P. GIBSON                                               J. QUINLEY
Defendant                                           Assistant United States Attorney




        ROGERS
  bmey for the Defendant


Date:                                                Date:
